                Case 2:23-bk-01370-FMD                      Doc 60         Filed 02/20/25            Page 1 of 3




                                                    ORDERED.
   Dated: February 20, 2025




                                  UNITED STATES BANKRUPTCY COURT
                                   THE MIDDLE DISTRICT OF FLORIDA
                                        FORT MYERS DIVISION
                                          www.flmb.uscourts.gov

In re:                                                                             Case No. 2:23-bk-01370-FMD
                                                                                   Chapter 13
Edgar Clarence Godfrey, III
Nancy Jo Godfrey

        Debtor1
___________________________/

             ORDER CONTINUING AND RESCHEDULING CONFIRMATION
            HEARING AND HEARING ON OBJECTIONS TO CONFIRMATION
         FILED BY SOUTHSTATE BANK, N.A AND INTERNAL REVENUE SERVICE

               THIS CASE came on for a confirmation hearing and hearing on Objections to

Confirmation filed by SouthState Bank N.A (Doc. No. 17) and Internal Revenue Service (Doc.

No. 32 & 33) on February 13, 2025. It appears that additional time is required to consider

confirmation of the Chapter 13 Plan. Accordingly, it is

          ORDERED:

          1.        The Confirmation Hearing and Hearing on Objections to Confirmation filed

by SouthState Bank N.A (Doc. No. 17) and Internal Revenue Service (Doc. No. 32 & 33) are

hereby rescheduled to June 5, 2025 at 1:35 p.m., and will be held before the Honorable

Caryl E. Delano, United States Bankruptcy Judge, in Courtroom 9A, Tampa, Florida.


¹All references to “debtor” shall include and refer to both debtors in a case filed jointly by two individuals.
             Case 2:23-bk-01370-FMD         Doc 60     Filed 02/20/25     Page 2 of 3




        2.     Parties may attend the hearing by video or telephone via Zoom. UNLESS

INSTRUCTED OTHERWISE, PARTIES MAY NOT APPEAR IN PERSON AT THE

FORT MYERS COURTHOUSE. Parties are directed to consult Judge Delano’s Procedures

Governing Court Appearances regarding policies and procedures for attendance at hearings

by video or telephone via Zoom, available at https://www.flmb.uscourts.gov/judges/delano.

If you are unable to access the Court’s website, please contact the Courtroom Deputy at

813-301-5195 no later than 3:00pm one business day before the date of the hearing.

        3.     THIS IS THE FINAL CONTINUANCE FOR CONFIRMATION IN THIS

CASE.

        4.     At least fourteen (14) days prior to the hearing, the Debtor shall correct any

deficiencies or problems listed in the Recommendation or previously raised by the Chapter 13

Trustee’s office concerning confirmation of the Chapter 13 Plan.

        5.     Any amended budget, statements or schedules must be filed at least fourteen (14)

days prior to the continued hearing date.

        6.     If the Debtor files an amended budget, statements, schedules, the documents that

support the changes reflected in those amendments, must be provided to and received by the

Chapter 13 Trustee’s office at least fourteen (14) days prior to the continued hearing date.

        7.     Additionally, any documents or other items requested by the Chapter 13 Trustee’s

office must be provided to and received by the Chapter 13 Trustee’s office at least fourteen (14)

days prior to the continued hearing date.

        8.     Any amended Chapter 13 plan must be filed no later than twenty-five (25) days

prior to the continued hearing date.

        9.     All objections to claims, motions to determine secured status, or motions to strip

                                                 2
             Case 2:23-bk-01370-FMD         Doc 60     Filed 02/20/25       Page 3 of 3




and/or avoid liens or other matters necessary for confirmation of the Chapter 13 Plan must be

resolved at least fourteen (14) days prior to the continued hearing date.

       10.     Failure of the Debtor to timely comply with any of the provisions contained

in this Order may result in the dismissal of this case and appropriate sanctions may be

imposed, sua sponte, including, but not limited to, disgorgement of attorney’s fees.

       11.     The failure of the Debtor or Debtor’s attorney to timely comply with any of

the provisions contained within this order shall result in the automatic disgorgement of

$350.00 from the total amount of Debtor’s attorney’s fee received, or to be received

through the Plan payments made to date, unless cause can be shown to the Chapter 13

Trustee prior to the continued confirmation hearing, as herein provided, that the delay in

compliance was beyond the control of the Debtors or Debtor’s attorney. Attorney for the

Debtor may ask the Judge to make the final decision if Debtor’s attorney and the Chapter

13 Trustee do not agree. The failure to comply with any of the provisions contained within

this order may also result in the dismissal of this case.



Trustee, Jon M. Waage, is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within 3 days of entry of the order.


JMW/MEC/ss                                                                  C13T 02/20/25




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